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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   No. CR S-99-0051 GEB EFB P

12           vs.

13   REVERIANO OLIVERA,

14                  Movant.                       ORDER

15                                          /

16                  Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

18   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On September 8, 2010, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within fourteen days. Neither

22   party has filed objections to the findings and recommendations.

23                  The court has reviewed the file and finds the findings and recommendations to be

24   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

25   ORDERED that:

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 1                 1. The findings and recommendations filed September 8, 2010, are adopted in

 2   full;

 3                 2. Movant’s February 24, 2004 motion to vacate, set aside, or correct his sentence

 4   pursuant to 28 U.S.C. § 2255 is denied;

 5                 3. The Clerk of the Court is directed to close the companion civil case No. CIV

 6   S-04-384 GEB EFB; and

 7                 4. Movant’s January 5, 2007 motion to supplement is denied.

 8   Dated: September 28, 2010
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10                                             GARLAND E. BURRELL, JR.
                                               United States District Judge
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